      Case 3:25-cv-00491-MMH-MCR                        Document 5             Filed 05/02/25          Page 1 of 46 PageID 46
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                   REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                               TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                       Middle District of Florida                             on the following
       6 Trademarks or            Patents. (        the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                     DATE FILED                       U.S. DISTRICT COURT
 3:25-cv-00491-MMH-MCR                    05/01/2025                                       Middle District of Florida
PLAINTIFF                                                                DEFENDANT


    Morgan Global, PLLC                                                   Croskey Law, PLLC


        PATENT OR                    DATE OF PATENT
                                                                                   HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                  OR TRADEMARK

1          See Attached




CLERK                                                    (BY) DEPUTY CLERK                                          DATE

             ELIZABETH M. WARREN                                                 Julissa Soto                                05/02/2025

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
Case 3:25-cv-00491-MMH-MCR        Document 5      Filed 05/02/25   Page 2 of 46 PageID 47




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


 MORGAN GLOBAL, PLLC,
       Plaintiff,
       v.
 CROSKEY LAW, PLLC,
       Defendant.
 ______________________________/

                                     COMPLAINT

       Plaintiff Morgan Global, PLLC (“Plaintiff”), by and through its undersigned

 counsel, files this Complaint against Defendant Croskey Law, PLLC (“Defendant”)

 and alleges as follows:

                                NATURE OF THE ACTION

       This is an action for declaratory judgment under the Declaratory Judgment

 Act, 28 U.S.C. §§ 2201 and 2202, to resolve the issue of priority of use of the

 JUSTICEVILLE™ service mark (“JUSTICEVILLE Mark”) in connection with

 legal services. Plaintiff seeks a declaration from this Court that Plaintiff’s use of the

 JUSTICEVILLE Mark in commerce in the Jacksonville, Florida metropolitan area,

 through its licensee Morgan & Morgan Jacksonville, PLLC, began prior to

 Defendant’s claimed first use of that mark in commerce in that geographic area.


                                            1
Case 3:25-cv-00491-MMH-MCR       Document 5    Filed 05/02/25   Page 3 of 46 PageID 48




                                    THE PARTIES

       1.     Plaintiff, Morgan Global, PLLC, is a Florida limited liability company

 having a principal place of business at 20 North Orange Avenue, Suite 1600,

 Orlando, Florida 32801.

       2.     Upon information and belief, Defendant, Croskey Law, PLLC, is a

 Florida law firm having a principal place of business at 1644 Blanding Boulevard,

 Jacksonville, Florida 32210.

                             JURISDICTION AND VENUE

       3.     This Court has subject matter jurisdiction under Section 39 of the

 Lanham Act, 15 U.S.C. § 1121, and under 28 U.S.C. §§ 1331 and 1338.

       4.     This Court has personal jurisdiction over Defendant because Defendant

 resides in this State, does business in this State, has engaged in acts or omissions

 within this State causing injury, and has otherwise established contacts with this

 State making the exercise of personal jurisdiction proper.

       5.     This Court has declaratory judgment jurisdiction because the dispute

 over which party has priority of use of the JUSTICEVILLE Mark in the Jacksonville

 metropolitan area constitutes a concrete and substantial controversy between parties




                                          2
Case 3:25-cv-00491-MMH-MCR        Document 5     Filed 05/02/25   Page 4 of 46 PageID 49




 with adverse legal interests of sufficient immediacy and reality to warrant the

 issuance of a declaratory judgment.

       6.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (2)

 because Defendant resides in this District and a substantial part of the events or

 omissions giving rise to the action occurred in this District.

                               FACTUAL BACKGROUND

       7.     Plaintiff is the owner of a number of trademarks and service marks,

 including the JUSTICEVILLE Mark, that have been licensed to Morgan & Morgan

 Jacksonville, PLLC (“Morgan Jacksonville”) for use in connection with Morgan

 Jacksonville’s legal services business.

       8.     Morgan Jacksonville and its related entities (collectively referred to as

 “Morgan & Morgan”) specialize in representing individuals in a wide variety of

 matters throughout the country including in the State of Florida. Morgan & Morgan

 currently has offices in all fifty states. In the state of Florida, Morgan & Morgan has

 over 30 offices throughout the state including an office in Jacksonville. Morgan

 Jacksonville is located at 501 Riverside Ave, Suite 1200, Jacksonville, Florida

 32202. Among the practice areas in which Morgan & Morgan’s attorneys provide

 representation are personal injury, medical malpractice, worker’s compensation,

 nursing home abuse, wrongful death, product liability, product recalls, premises

 liability, business and civil rights litigation, insurance disputes, social security


                                            3
Case 3:25-cv-00491-MMH-MCR       Document 5     Filed 05/02/25   Page 5 of 46 PageID 50




 disability, veterans benefits and workplace disputes.      Morgan & Morgan also

 represents individuals and consumers in class actions in several of the foregoing

 practice areas.

       9.     Defendant is a Florida personal injury law firm with offices in

 Jacksonville, St. Augustine, and Tampa. A true and correct copy of the Secretary of

 State form showing the law firm’s active status is attached as Exhibit A.

       10.    Plaintiff began using the JUSTICEVILLE Mark in the Jacksonville

 metropolitan area, through its licensee Morgan Jacksonville, at least as early as July

 1, 2024. True and correct copies of examples of Morgan Jacksonville’s use of the

 JUSTICEVILLE Mark are attached as Exhibit B.

       11.    On information and belief, Defendant had not initiated use of the

 JUSTICEVILLE Mark in commerce in the Jacksonville metropolitan area as of July

 1, 2024.

       12.    On January 17, 2025, Defendant filed trademark application Serial No.

 99/005,577 with the United States Patent and Trademark Office (“USPTO”) to

 register the JUSTICEVILLE Mark in connection with legal services in International

 Class 45.

       13.    Defendant’s trademark application indicates that it began using the

 JUSTICEVILLE Mark on “09/00/2024,” which the USPTO construes to mean

 September 30, 2024. See Trademark Manual of Examining Practice § 903.06. A


                                           4
Case 3:25-cv-00491-MMH-MCR        Document 5    Filed 05/02/25   Page 6 of 46 PageID 51




 true and correct copy of Defendant’s trademark application for the JUSTICEVILLE

 Mark is attached as Exhibit C.

       14.    On information and belief, Defendant had not initiated use of the

 JUSTICEVILLE Mark in commerce in the Jacksonville metropolitan area as of

 September 30, 2024.

       15.    On February 6, 2025, upon learning of Defendant’s JUSTICEVILLE

 Mark trademark application and Defendant’s use of that mark, Plaintiff’s trademark

 counsel sent a letter to Defendant, notifying Defendant of Plaintiff’s prior rights in

 the JUSTICEVILLE Mark and, requesting that Defendant cease all use of the

 JUSTICEVILLE Mark and that Defendant voluntarily abandon its trademark

 application for the JUSTICEVILLE Mark filed with the USPTO. A true and correct

 copy of the letter sent to Defendant on February 6, 2025 is attached as Exhibit D.

       16.    On February 19, 2025, Defendant’s trademark counsel responded to

 Plaintiff’s counsel and requested “proof that Morgan has heavily promoted

 JUSTICEVILLE around the country and began using JUSTICEVILLE in commerce

 since early 2024.” A true and correct copy of Defendant’s counsel’s email sent to

 Plaintiff’s counsel on February 19, 2025 is attached as Exhibit E.

       17.    On March 14, 2025, Plaintiff’s counsel sent a second letter to

 Defendant’s counsel, stating that the relevant issue between the parties was which

 party first used the JUSTICEVILLE Mark in commerce in the Jacksonville


                                           5
Case 3:25-cv-00491-MMH-MCR       Document 5     Filed 05/02/25   Page 7 of 46 PageID 52




 metropolitan area. To facilitate an expedited resolution of this issue, Plaintiff’s

 counsel proposed a voluntary, simultaneous exchange of evidence to establish the

 date when each party began use of the JUSTICEVILLE Mark in the Jacksonville

 metropolitan area. A true and correct copy of the letter sent to Defendant’s counsel

 on March 14, 2025 is attached as Exhibit F.

       18.    On March 21, 2025, Defendant’s counsel sent an email rejecting

 Plaintiff’s counsel’s proposal. Instead, Defendant’s counsel asserted that Defendant

 had priority of use of the JUSTICEVILLE Mark, and accused Morgan & Morgan of

 intentionally infringing Defendant’s trademark in bad faith. Defendant’s counsel

 further suggested that Plaintiff make an offer to purchase Defendant’s rights in and

 to the JUSTICEVILLE Mark. He added that if Plaintiff was “adamant” about a

 mutual exchange of evidence that pertains to the priority date, that the exchange take

 place at an in-person mediation. A true and correct copy of an email chain between

 the parties’ counsel related to the JUSTICEVILLE Mark is attached as Exhibit G.

       19.    On March 23 and March 31, 2025, Plaintiff’s counsel, sent two emails

 to Defendant’s counsel seeking to set up a call for counsel for the parties to discuss

 the priority of use issue further by phone. Defendant’s counsel has failed to respond

 to either email. See id.

       20.    As the parties have reached an impasse on the issue of priority of use

 of the JUSTICEVILLE Mark in the Jacksonville metropolitan area, and each has


                                           6
Case 3:25-cv-00491-MMH-MCR       Document 5     Filed 05/02/25     Page 8 of 46 PageID 53




 claimed rights in the same mark in connection with legal services, Plaintiff seeks a

 declaratory judgment from this Court that Plaintiff, through its licensee Morgan

 Jacksonville, began use of the JUSTICEVILLE Mark in commerce in the

 Jacksonville metropolitan area prior to Defendant’s claimed first use of the

 JUSTICEVILLE Mark in commerce in that geographic area.

                                CLAIM FOR RELIEF
                (Declaration of Prior Trademark Use by Plaintiff)

       21.    Plaintiff repeats and incorporates by reference the allegations in

 paragraphs 1-20 of this Complaint.

       22.    An actual, immediate, and justiciable controversy between the parties

 exists over whether Plaintiff has priority of rights in and to the JUSTICEVILLE

 Mark in the Jacksonville metropolitan area.

       23.    Plaintiff began using the JUSTICEVILLE Mark in commerce in the

 Jacksonville metropolitan area, through its licensee Morgan Jacksonville, at least as

 early as July 1, 2024.

       24.    Defendant has alleged that it has prior use of the JUSTICEVILLE Mark

 in commerce to Plaintiff in the Jacksonville metropolitan area.

       25.    On information and belief, Defendant had not begun use of the

 JUSTICEVILLE Mark in commerce as of July 1, 2024.

       26.    Accordingly, pursuant to the Federal Declaratory Judgment Act, 28

 U.S.C.§§ 2201 et seq., Plaintiff requests that this Court declare that it began use of
                                           7
Case 3:25-cv-00491-MMH-MCR      Document 5    Filed 05/02/25   Page 9 of 46 PageID 54




 the JUSTICEVILLE Mark in commerce in the Jacksonville metropolitan area,

 through its licensee Morgan Jacksonville, prior to the time Defendant began use of

 the JUSTICEVILLE Mark in commerce in that geographic area.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays the Court enter declaratory judgment in its

 favor as follows:

       An order declaring that Plaintiff’s use of the JUSTICEVILLE Mark in

 commerce in the Jacksonville metropolitan area, through its licensee Morgan

 Jacksonville, began prior to the date Defendant began using the JUSTICEVILLE

 Mark in commerce in that geographic area.




                                         8
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 10 of 46 PageID 55




  DATED: May 1, 2025               Respectfully submitted,

                                   MORGAN GLOBAL, PLLC
                                   20 N. Orange Ave.
                                   Suite 1600
                                   Orlando, Florida 32801
                                   Telephone: 407.236.5974
                                   Facsimile: 407.245.3349

                                   By: Damien H. Prosser
                                       Damien H. Prosser
                                       Florida Bar No.: 17455


                                   KILPATRICK TOWNSEND &
                                   STOCKTON LLP

                                   CHRISTOPHER P. BUSSERT (To be
                                   Admitted Pro Hac Vice)
                                   CHARLES H. HOOKER (To be Admitted
                                   Pro Hac Vice)
                                   CHRISTOPHER C. WILLIAMS-LOPEZ
                                   (To be Admitted Pro Hac Vice)
                                   Suite 2800, 1100 Peachtree Street NE
                                   Atlanta, GA 30309-4528

                                   Attorneys for Morgan Global, PLLC




                                     9
            Case 3:25-cv-00491-MMH-MCRCIVIL
JS 44 (Rev. 03/24)                      Document
                                            COVER5 SHEET
                                                   Filed 05/02/25                                                                           Page 11 of 46 PageID 56
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS

         Morgan Global, PLLC                                                                             Croskey Law, PLLC
   (b) County of Residence of First Listed Plaintiff             Orange                                  County of Residence of First Listed Defendant              Duval
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       Morgan, P.A.                                                                                   WILSON DUTRA, PLLC
       20 N. Orange Ave. Suite 1600                                                                   7643 Gate Parkway
       Orlando, Florida 32801                                                                         Ste 10489
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY              PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product            Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability              367 Health Care/                                                        INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &            Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                    Personal Injury                                                   820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’          Product Liability                                                 830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability              368 Asbestos Personal                                                 835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                      Injury Product                                                        New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product              Liability                                                         840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability             PERSONAL PROPERTY                          LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle           370 Other Fraud                  710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle           371 Truth in Lending                 Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability       380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal              Property Damage                  Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                  385 Property Damage              740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -           Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS             PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights      Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                  463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment              510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                    Sentence                                                               or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations          530 General                                                           871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -  535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment              Other:                           462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -  540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                          Other                   550 Civil Rights                     Actions                                                                State Statutes
                                      448 Education               555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. §§ 2201 and 2202
VI. CAUSE OF ACTION Brief description of cause:
                                       The issue of priority of use of a trademark
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
4/30/2025
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
            Case 3:25-cv-00491-MMH-MCR
JS 44 Reverse (Rev. 03/24)                                      Document 5              Filed 05/02/25            Page 12 of 46 PageID 57
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 13 of 46 PageID 58




                                EXHIBIT A
        Case 3:25-cv-00491-MMH-MCR                                              Document 5                    Filed 05/02/25                     Page 14 of 46 PageID 59
2025 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                                                                                                    FILED
DOCUMENT# L16000045084                                                                                                                              Mar 19, 2025
Entity Name: CROSKEY LAW, PLLC                                                                                                                    Secretary of State
                                                                                                                                                   3590171334CC
Current Principal Place of Business:
1644 BLANDING BLVD.
JACKSONVILLE, FL 32210


Current Mailing Address:
1644 BLANDING BLVD.
JACKSONVILLE, FL 32210 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
DAVID M. W. SETZLER P.A.
1644 BLANDING BLVD.,
JACKSONVILLE, FL 32210 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: DAVID SETZLER                                                                                                                                                  03/19/2025
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR                                                                            Title                  MANAGER
Name                   STEVEN, CROSKEY                                                                Name                   CROSKEY, VIKTORIYA
Address                1644 BLANDING BLVD.                                                            Address                1644 BLANDING BLVD.
City-State-Zip:        JACKSONVILLE FL 32210                                                          City-State-Zip:        JACKSONVILLE FL 32210




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: STEVEN CROSKEY                                                                                              MGR                                                03/19/2025
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 15 of 46 PageID 60




                              EXHIBIT B
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 16 of 46 PageID 61
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 17 of 46 PageID 62
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 18 of 46 PageID 63




                                EXHIBIT C
            Case 3:25-cv-00491-MMH-MCR                                                               Document 5                            Filed 05/02/25       Page 19 of 46 PageID 64


PTO- 1478
Approved for use through 08/31/2027. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number


                                               Trademark/Service Mark Application, Principal Register
                                                                                                         Serial Number: 99005577
                                                                                                         Filing Date: 01/17/2025


                                                                               The table below presents the data as entered.

                                                             Input Field                                                                                       Entered
              SERIAL NUMBER                                                                                                        99005577
              MARK INFORMATION
              *MARK                                                                                                                Justiceville
              STANDARD CHARACTERS                                                                                                  YES
              USPTO-GENERATED IMAGE                                                                                                YES
              LITERAL ELEMENT                                                                                                      Justiceville
                                                                                                                                   The mark consists of standard characters, without claim to any
              MARK STATEMENT
                                                                                                                                   particular font style, size, or color.
              REGISTER                                                                                                             Principal
              APPLICANT INFORMATION
              *OWNER OF MARK                                                                                                       Croskey Law, PLLC
              *MAILING ADDRESS                                                                                                     1644 Blanding Boulevard
              *CITY                                                                                                                Jacksonville
              *STATE
                                                                                                                                   Florida
              (Required for U.S. applicants)

              *COUNTRY/REGION/JURISDICTION/U.S. TERRITORY                                                                          United States
              *ZIP/POSTAL CODE
              (Required for U.S. and certain international addresses)
                                                                                                                                   32210

              PHONE                                                                                                                9049551977
              *EMAIL ADDRESS                                                                                                       XXXX
              LEGAL ENTITY INFORMATION
              TYPE                                                                                                                 Professional Limited Liability Company
              STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY
                                                                                                                                   Florida
              WHERE LEGALLY ORGANIZED

              GOODS AND/OR SERVICES AND BASIS INFORMATION
               INTERNATIONAL CLASS                                                                                                 045
              *IDENTIFICATION                                                                                                      Legal services.
              FILING BASIS                                                                                                         SECTION 1(a)
                     FIRST USE ANYWHERE DATE                                                                                       At least as early as 09/00/2024
                     FIRST USE IN COMMERCE DATE                                                                                    At least as early as 09/00/2024
                                                                                                                                   \\TICRS\EXPORT18\IMAGEOUT
                     SPECIMEN FILE NAME(S)
                                                                                                                                   18\990\055\99005577\xml1 \ APP0003.JPG
Case 3:25-cv-00491-MMH-MCR             Document 5    Filed 05/02/25           Page 20 of 46 PageID 65


                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\990\055\99005577\xml1 \ APP0004.JPG
                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\990\055\99005577\xml1 \ APP0005.JPG

                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\990\055\99005577\xml1 \ APP0006.JPG
                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\990\055\99005577\xml1 \ APP0007.JPG
                                                \\TICRS\EXPORT18\IMAGEOUT
                                                18\990\055\99005577\xml1 \ APP0008.JPG
                                                Mixture of photographs and screenshots of the applied-for
  SPECIMEN DESCRIPTION                          mark used in commerce with respect to the applied-for
                                                services.
   WEBPAGE URL                                  https://justicevillefl.com/
   WEBPAGE DATE OF ACCESS                       01/16/2025
   WEBPAGE URL                                  https://justicevillefl.com/the-firm/
   WEBPAGE DATE OF ACCESS                       01/16/2025
   WEBPAGE URL                                  https://www.instagram.com/p/DEfQa2YuEC9/
   WEBPAGE DATE OF ACCESS                       01/16/2025
ATTORNEY INFORMATION
NAME                                            Fernando A. Dutra
ATTORNEY DOCKET NUMBER                          CROL0001WM
ATTORNEY BAR MEMBERSHIP NUMBER                  XXX
YEAR OF ADMISSION                               XXXX
U.S. STATE/ COMMONWEALTH/ TERRITORY             XX
FIRM NAME                                       Wilson Dutra, PLLC
STREET                                          7643 Gate Parkway, Suite 10489
CITY                                            Jacksonville
STATE                                           Florida
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY      United States
ZIP/POSTAL CODE                                 32256
PHONE                                           904-955-1977
EMAIL ADDRESS                                   fdutra@wilsondutra.com
OTHER APPOINTED ATTORNEY                        All attorneys in the firm.
CORRESPONDENCE INFORMATION
NAME                                            Fernando A. Dutra
PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE        fdutra@wilsondutra.com
SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)   cwilson@wilsondutra.com; trademarks@wilsondutra.com
FEE INFORMATION
APPLICATION FILING OPTION                       TEAS Standard
Case 3:25-cv-00491-MMH-MCR               Document 5     Filed 05/02/25          Page 21 of 46 PageID 66


NUMBER OF CLASSES                                 1
APPLICATION FOR REGISTRATION PER CLASS            350
*TOTAL FEES DUE                                   350
*TOTAL FEES PAID                                  350
SIGNATURE INFORMATION
SIGNATURE                                         /Steven Croskey/
SIGNATORY'S NAME                                  Steven Croskey
SIGNATORY'S POSITION                              Managing Member
SIGNATORY'S PHONE NUMBER                          904-955-1977
DATE SIGNED                                       01/17/2025
SIGNATURE METHOD                                  Sent to third party for signature
            Case 3:25-cv-00491-MMH-MCR                                                               Document 5                            Filed 05/02/25    Page 22 of 46 PageID 67

PTO- 1478
Approved for use through 08/31/2027. OMB 0651-0009
U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number




                                                                Trademark/Service Mark Application, Principal Register

                                                                                                         Serial Number: 99005577
                                                                                                         Filing Date: 01/17/2025
To the Commissioner for Trademarks:

MARK: Justiceville (Standard Characters, see mark)
The literal element of the mark consists of Justiceville. The mark consists of standard characters, without claim to any particular font style, size,
or color.
The applicant, Croskey Law, PLLC, a Professional Limited Liability Company legally organized under the laws of Florida, having an address of
    1644 Blanding Boulevard
    Jacksonville, Florida 32210
    United States
    9049551977(phone)
    XXXX

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

International Class 045: Legal services.

In International Class 045, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 09/00/2024, and first used in commerce at least as early as 09/00/2024, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Mixture of photographs and screenshots of the applied-for mark used in commerce with respect to the applied-
for services..
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Webpage URL: https://justicevillefl.com/
Webpage Date of Access: 01/16/2025
Webpage URL: https://justicevillefl.com/the-firm/
Webpage Date of Access: 01/16/2025
Webpage URL: https://www.instagram.com/p/DEfQa2YuEC9/
Webpage Date of Access: 01/16/2025



The owner's/holder's proposed attorney information: Fernando A. Dutra. Other appointed attorneys are All attorneys in the firm.. Fernando A.
Dutra of Wilson Dutra, PLLC, is a member of the XX bar, admitted to the bar in XXXX, bar membership no. XXX, and the attorney(s) is located
at
    7643 Gate Parkway, Suite 10489
    Jacksonville, Florida 32256
    United States
    904-955-1977(phone)
    fdutra@wilsondutra.com
The docket/reference number is CROL0001WM.
Fernando A. Dutra submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court
of a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.
The applicant's current Correspondence Information:
    Fernando A. Dutra
       Case 3:25-cv-00491-MMH-MCR                        Document 5             Filed 05/02/25           Page 23 of 46 PageID 68


    PRIMARY EMAIL FOR CORRESPONDENCE: fdutra@wilsondutra.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): cwilson@wilsondutra.com; trademarks@wilsondutra.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner's/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $350 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

              The signatory believes that the applicant is the owner of the trademark/service mark sought to be registered;
              The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              goods/services in the application;
              The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

              The signatory believes that the applicant is entitled to use the mark in commerce;
              The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
              To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory's knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
       The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
       1001, and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
       resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
       belief are believed to be true.
Declaration Signature

Signature: /Steven Croskey/ Date: 01/17/2025
Signatory's Name: Steven Croskey
Signatory's Position: Managing Member
Signatory's Phone Number: 904-955-1977
Signature method: Sent to third party for signature
Payment Sale Number: 99005577
Payment Accounting Date: 01/17/2025

Serial Number: 99005577
Internet Transmission Date: Fri Jan 17 09:58:55 ET 2025
TEAS Stamp: USPTO/BAS-XXXX:XXX:X:XX::XX-202501170958
56238364-99005577-880fc81fea65ad7ad5d233
ef7b39475617dd38b9cf114c03710241c906d6b2
2ca4d-CC-58555285-20250116231414522184
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 24 of 46 PageID 69
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 25 of 46 PageID 70
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 26 of 46 PageID 71
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 27 of 46 PageID 72
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 28 of 46 PageID 73
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 29 of 46 PageID 74
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 30 of 46 PageID 75
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 31 of 46 PageID 76




                                EXHIBIT D
Case 3:25-cv-00491-MMH-MCR                   Document 5           Filed 05/02/25           Page 32 of 46 PageID 77



                Kilpatrick Townseiid & Stockton                                                Suite 2800. 1 iOO Peaebtree Street NE
                ktslaw.eom                                                                                  AOama. G.A ,30309-4528




                                                                                                    CHRISTOPHER P. BUSSERT
                                                                                                         direct dial 404 815 6545
                                                                                                         direct fax 404 541 3144
    February 6, '2025                                                                                       cbussert@ktslaw.com




   VIA FEDEX ONLY

   Steven Croskey, Esq.
   Managing Member
   Croskey Law, PLLC
   1644 Blanding Blvd.
   Jacksonville, FL  32210

                      Re:        Infringement of JUSTICEVILLE™ Service Mark

   Dear Mr. Croskey:

             This law firm represents Morgan & Morgan. ("Morgan &
   Morgan") in intellectual property matters.  As I am sure you are
   aware, Morgan & Morgan is a well-known national law firm with
   offices throughout the country, including in Jacksonville and
   St. Augustine, Florida, representing clients in a wide variety
   of legal matters throughout the United States including personal
   injury.

             As you may be aware, Morgan & Morgan is the owner of a
   number of service marks including the JUSTICEVILLE™ service
   mark, which it has heavily promoted in a number of markets
   around the country including Jacksonville and St. Augustine in
   connection with its legal service's business since early 2024.
   An exemplar of our client's advertising of the JUSTICEVILLE™
   mark is enclosed as Exhibit 1 for your reference.

             Our client recently discovered that your firm has
   begun using the JUSTICEVILLE™ mark in connection with its
   competitive legal services business and has filed with the
   United States Patent and Trademark Office a trademark
   registration application for the JUSTICEVILLE™ mark under Serial
   No. 99/005,577. Notably, the application is based on a date of
   first use of September 2024 which is many months after our
   client first began using the JUSTICEVILLE mark in the
   Jacksonville and St. Augustine markets. Your firm's adoption and
   use of the JUSTICEVILLE™ mark in connection with a directly


     ANCHORAGE ATLANTA AUGUSTA BEIJING CHARLOTTE CHICAGO DALLAS DENVER HOUSTON LOS ANGELES NEW YORK PHOENIX RALEIGH
      SAN DIEGO SAN FRANCISCO SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 33 of 46 PageID 78




   Steven Croskey
   February 6, 2025
   Page 2


   competitive legal services business is likely to cause
   confusion, mistake and deception of clients and potential
   clients into thinking that your firm is affiliated or associated
   with or licensed or endorsed by Morgan & Morgan, when it clearly
   is not. Moreover, your firm's adoption and use of the
   JUSTICEVILLE™ mark, as well as filing of a federal registration
   application for that mark, were likely undertaken in bad faith
   since all of these activities occurred long after Morgan &
   Morgan began using the JUSTICEVILLE mark prominently in the
   Jacksonville and St. Augustine markets, all of which suggests
   that your firm copied the JUSTICEVILLE™ service mark from Morgan
   & Morgan.

             Your trademark attorney can advise you that federal
   and state laws authorize several causes of action against
   trademark infringement and/or conduct that is likely to create
   the false impression that one entity is connected to or
   affiliated with another.  For example. Section 32 of the federal
   Lanham Act provides that:

              Any person who shall, without the consent of
              the registrant . . . use in commerce any
              reproduction, counterfeit. copy or colorable
              imitation of a registered mark in connection
              with the sale, offering for sale.
              distribution. or advertising of any goods or
              service on or in connection with which such
              use is likely to cause confusion. or to
              cause mistake. or to deceive .    . shall be
              liable in a civil action by the registrant.

             You should also be aware that in cases in which
   infringement of another's mark has occurred. these same laws
   provide broad remedies, including injunctive relief and monetary
   relief.  Section 35 of the Lanham Act, for example. states that
   in cases of an infringement:

              [T]he plaintiff shall be entitled . . . to
                                                       '
              recover (1) defendant's profits, (2) any
              damages sustained by the plaintiff, and
              (3) the costs of the action.  The court
              shall assess such profits and damages or
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 34 of 46 PageID 79




   Steven Croskey
   February 6, 2025
   Page 3


              cause the same to be assessed under its
              direction. In assessing profits the
              plaintiff shall be required to prove
              defendant's sales only; defendant must prove
              all elements of cost or deduction claimed.
              In assessing damages the court may enter
              judgment, according to the circumstances of
              the case, for any sum above the amount found
              as actual damages, not exceeding three times
              such amount.  If the court shall find that
              the amount of the recovery based on profits
              is either inadequate or excessive, the court
              may in its discretion enter judgment for
              such sum as the court shall find to be just,
              according to the circumstances of the
              case         The court in exceptional cases
              may award reasonable attorneys' fees to the
              prevailing party.

              Under the circumstances, your firm's continued use of
    a mark which is identical to Morgan & Morgan's JUSTICEVILLE''TM
    mark is likely to cause confusion as to the source of your
    firm's services. or as to the connection, licensing.
    sponsorship, endorsement or authorization of those services by
    Morgan & Morgan.

              We are writing you as a courtesy to offer your firm an
    opportunity to avoid litigation by immediately confirming that
    it: (1) has ceased all use of the JUSTICEVILLE™ mark including
    on its website and in any of your firm's advertising; and (2)
    has voluntarily abandoned Serial No. 99/005,577 for the
    JUSTICEVILLE™ mark filed with the United States Patent and
    Trademark Office.

              We request you provide us with written confirmation by
    the close of business on Wednesday, February 19, 2025, that your
    firm has complied with these demands. Absent such a response
    from your firm, we will assume that your firm is not interested
    in reaching an amicable resolution of this matter and our client
    will pursue immediately all legal remedies available to it.

              We look forward to your prompt response.
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 35 of 46 PageID 80




   Steven Croskey
   February 6, 2025
   Page 4


                                      sincerely,



                                      Christopher P. Bussert

    CPB/dc
    cc:   Morgan & Morgan
Case 3:25-cv-00491-MMH-MCR   Document 5         Filed 05/02/25   Page 36 of 46 PageID 81




                                 EXHIBIT 1




                                                                              I




                     “'5£:i'^SriiiiYc“cT
                  "«JUSTICEVILLE,        £
                                      FL g
                   MORGAN A MORMN O NHVMnuai
                                                                 J        I


                                         iCMvChannal

                                                                        BS^
                                                                                  5;

                                    9,
                                      T
                                                                      I
  Case 3:25-cv-00491-MMH-MCR                           Document 5                    Filed 05/02/25             Page 37 of
                                                                                                                        I
                                                                                                                           46 PageID 82



                                                                                                                                            ■U9do o; iinj
                                                                                                                                                            J
                                                                              Align top of FedEx Express"
                                                                                                                                      shippinglabelhere.




                                          (404) 815-6500


                                                                      ^'^:^S38^AxI3600


                                                                     bill sender
                                                                                                                                  I
                       TO
                              ^‘^^^^ENCRdSKEY~~                                                                                  I
                                                                                                                                I
                              CROSKEY law, PLLC                                                                                 I
                              ^644 BLANDING BLVD                                                                               I £
                                                                                                       5                       I «
                                                                                                                            I ■>                                I
                                                                                                      S
                       p^Sg°WILLEFL3^0                                                                !
               £       INV-
                                                  REF: 0563171488214-03789                            s
               (Q      PO.




Env
                                                                                                                           :!
                                                                                                                                                            I
                                                                                                                           I 8


                                                                                          ^ress
                                                                                                                         I •
          CO                                                                                                             :1
          Ct                                                                                      S
                                                                                                  £




Rec’                                                           TUE - 04 MAR 10.-30A
                                                                                                  s


                                                                                                                     .


                                                                                                                     !-
                                                                                                                  ' o>
                                                                                                                       I
                                                                                                                           £


                                                                                                                           £



                    trk#
                                                                                                                  I .S
                    ^0^      2860 2651 0705                   priorityovernight                                    . s
                                                                                                                  I M
                                                                                       ASR                        I C

                    XP CRGA                                                  FL-US
                                                                                     32210
                                                                                      JAX
                                                                                                                 I o
                                                                                                                    Q
                                                                                                                 I (0
                                                                                                                I a.
                                                                                                                 I 10
                                                                                                                   c
                                                                                                                I <0
                                                                                                                I c
                                                                                                                I ■S
                                                                                                               »£
                                                                                                               I c
                                                                                                               'o“


                                                                                                                p
                                                                                                               I c

     a.

    lO"


                                                                                                           I
                                                                                                           t



                                                           ^!!!2^2^!221^e,-and-stickairbi„
                                                                                                                                      pouch here.
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 38 of 46 PageID 83




                                EXHIBIT E
Case 3:25-cv-00491-MMH-MCR                 Document 5            Filed 05/02/25           Page 39 of 46 PageID 84


   From:            Jacob Salit
   To:              Bussert, Chris
   Cc:              Fernando Dutra; WD Trademarks; Camille Wilson
   Subject:         Trademark Infringement Dispute Response - JUSTICEVILLE (CROL0001WM)
   Date:            Wednesday, February 19, 2025 10:35:47 AM
   Attachments:     image001.png


   Hello Christopher,
   We hope this communication finds you well.
   We are writing today on behalf of Croskey Law, PLLC.
   Our firm represents Croskey Law, PLLC, with respect to matters pertaining to their trademarks,
   including their “JUSTICEVILLE” brand.
   Please direct any future correspondence concerning this matter directly to us.

   While we review the allegations set forth in the February 6, 2025 letter, may you please provide us
   with proof that Morgan & Morgan has heavily promoted JUSTICEVILLE around the country and
   began using JUSTICEVILLE in commerce since early 2024?
   Upon receipt, we will review and discuss with our client for their consideration.
   Any silence or refusal to provide any additional evidence, other than the sole billboard image
   provided in Exhibit 1 without indication of data or time, will be relied upon by my client.
   This correspondence is not intended to be a complete statement of the facts and circumstances
   concerning the matters addressed herein or our client’s right and remedies respecting the same, all
   of which are expressly reserved.
   We look forward to hearing from you soon.

   Best,
   Jacob Salit




   Electronic Privacy Notice: This email, and any attachments, contains information that is, or
   may be, covered by electronic communications privacy laws, and is also confidential and
   proprietary in nature. If you are not the intended recipient, please be advised that you are
   legally prohibited from retaining, using, copying, distributing, or otherwise disclosing this
   information in any manner. If you have received this communication in error, please notify us
   immediately by telephone or email, and then immediately destroy the original communication.
   Thank you for your cooperation.
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 40 of 46 PageID 85




                                EXHIBIT F
Case 3:25-cv-00491-MMH-MCR                    Document 5           Filed 05/02/25         Page 41 of 46 PageID 86

               Kilpatrick Townsend & Stockton LLP                         Suite 2800, 1100 Peachtree Street NE
               ktslaw.com                                                 Atlanta, GA 30309-4528


                                                                                                      CHRISTOPHER P. BUSSERT
                                                                                                           direct dial 404 815 6545
                                                                                                           direct fax 404 541 3144
  March 14, 2025                                                                                              cbussert@ktslaw.com


  VIA E-MAIL jsalit@wilsondutra.com

  Jacob Salit, Esq.
  Wilson Dutra

                   Re:      Infringement of JUSTICEVILLE™ Service Mark

  Dear Jacob:

                   Thank you for your March 7, 2025 email.

            We do not see the need at this time to provide further
  information on Morgan & Morgan’s “heavy” promotion of the
  JUSTICEVILLE™ Mark around the country.

            Given the limited geographic scope of your client’s
  legal business, it appears the relevant issue is who first used
  the JUSTICEVILLE™ Mark in commerce in the Jacksonville/St.
  Augustine marketing area. We are happy to provide further
  information on our client’s 2024 use of the JUSTICEVILLE™ Mark
  in the Jacksonville/St. Augustine area subject to the terms
  outlined below.

            Your client’s JUSTICEVILLE™ service mark application
  recites a date of first use and first use in interstate commerce
  of the JUSTICEVILLE™ mark on “09/00/2024”, which as you know,
  will be construed to mean 09/30/2024. In exchange for our
  client’s voluntarily providing information on its 2024 use of
  the JUSTICEVILLE™ mark in the Jacksonville/St. Augustine area,
  we ask that your client provide us with all evidence of its use
  of the JUSTICEVILLE™ mark in the Jacksonville/St. Augustine area
  prior to September 30, 2024 or alternatively confirm that it
  made no such use. If your client is agreeable to my proposal, I
  propose that we simultaneously exchange that information
  electronically and then once priority is verified, we can
  discuss next steps from there.




         ANCHORAGE ATLANTA AUGUSTA BEIJING CHARLOTTE CHICAGO DALLAS DENVER HOUSTON LOS ANGELES NEW YORK PHOENIX

   RALEIGH SAN DIEGO SAN FRANCISCO SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
Case 3:25-cv-00491-MMH-MCR                    Document 5           Filed 05/02/25         Page 42 of 46 PageID 87




            Please advise if you and your client are agreeable to
  the proposed simultaneous exchange of priority information.
                                                        Sincerely,



                                                        Christopher P. Bussert

  CPB/dc
  cc: Morgan & Morgan, P.A.




  USADMIN 12972561 1
       ANCHORAGE ATLANTA AUGUSTA BEIJING CHARLOTTE CHICAGO DALLAS DENVER HOUSTON LOS ANGELES NEW YORK PHOENIX

   RALEIGH SAN DIEGO SAN FRANCISCO SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
Case 3:25-cv-00491-MMH-MCR   Document 5   Filed 05/02/25   Page 43 of 46 PageID 88




                                EXHIBIT G
Case 3:25-cv-00491-MMH-MCR                     Document 5               Filed 05/02/25        Page 44 of 46 PageID 89


   From:            Bussert, Chris
   To:              Williams-Lopez, Chris
   Subject:         FW: 3-14-2025 Letter to Jacob Salit regarding Justiceville Service Mark
   Date:            Monday, April 7, 2025 1:11:16 PM
   Attachments:     image002.png
                    image003.png




   Chris Bussert
   CBussert@ktslaw.com
   Kilpatrick Townsend & Stockton LLP
   1100 Peachtree Street NE | Suite 2800 | Atlanta, GA 30309-4528
   T 404 815 6545 | M 404 735 3056 | F 404 541 3144
   My Profile | vCard


   From: Bussert, Chris
   Sent: Monday, April 7, 2025 9:23 AM
   To: Hooker, Charles <chooker@ktslaw.com>
   Subject: FW: 3-14-2025 Letter to Jacob Salit regarding Justiceville Service Mark

   Communications with opposing counsel.

   Chris Bussert
   CBussert@ktslaw.com
   Kilpatrick Townsend & Stockton LLP
   1100 Peachtree Street NE | Suite 2800 | Atlanta, GA 30309-4528
   T 404 815 6545 | M 404 735 3056 | F 404 541 3144
   My Profile | vCard


   From: Bussert, Chris
   Sent: Sunday, March 23, 2025 7:08 PM
   To: Jacob Salit <jsalit@wilsondutra.com>
   Cc: Green, Fran <FGreen@ktslaw.com>; Fernando Dutra <fdutra@wilsondutra.com>; Camille Wilson
   <cwilson@wilsondutra.com>; Trademarks WD <trademarks@wilsondutra.com>
   Subject: Re: 3-14-2025 Letter to Jacob Salit regarding Justiceville Service Mark

   Jacob: We appear to be going sideways on a pretty straightforward issue. Let me know your
   availability this week so we can discuss the priority issue further.

   Thank you.
   Chris Bussert
   CBussert@ktslaw.com
   Kilpatrick Townsend & Stockton LLP
   1100 Peachtree Street NE | Suite 2800 | Atlanta, GA 30309-4528
   T 404 815 6545 | M 404 735 3056 | F 404 541 3144
   My Profile | vCard




         On Mar 21, 2025, at 4:20 PM, Jacob Salit <jsalit@wilsondutra.com> wrote:
Case 3:25-cv-00491-MMH-MCR                                                                                                                                                                                                                   Document 5   Filed 05/02/25   Page 45 of 46 PageID 90

       Hello Christopher, We hope you are doing well. We are confident that our Client used the Justiceville™ before Morgan & Morgan and that our Client would prevail in any action for entitlement to the Justiceville™ trademark, along
       ZjQcmQRYFpfptBannerStart




                            **CAUTION: External Email**

       ZjQcmQRYFpfptBannerEnd




       Hello Christopher,

       We hope you are doing well.

       We are confident that our Client used the Justiceville™ before Morgan & Morgan
       and that our Client would prevail in any action for entitlement to the Justiceville™
       trademark, along with their being awarded profits and the like from Morgan and
       Morgan’s intentional infringement of our Client's trademark.
       Morgan & Morgan is intentionally infringing on the Justiceville™ trademark in bad
       faith, for which we intend to issue a cease-and-desist letter to Morgan & Morgan if
       this matter is not resolved as stated herein this letter.

       Despite the forgoing, we recognize that Morgan & Morgan is interested in acquiring
       the rights to Justiceville™, and our Client has expressed interest in entertaining a
       commercially reasonable offer from Morgan & Morgan to purchase the ownership
       rights to Justiceville™.
       If Morgan & Morgan is adamant that they want to mutually exchange evidence that
       pertains to the Priority Date, then we propose that we set an in-person mediation
       where all material evidence is simultaneously exchanged, and we can also
       entertain a commercially reasonable offer from Morgan & Morgan to purchase the
       ownership rights to Justiceville™ at said mediation.

       Best,
       Jacob Salit
       <image002.png>



       Electronic Privacy Notice: This email, and any attachments, contains
       information that is, or may be, covered by electronic communications privacy
       laws, and is also confidential and proprietary in nature. If you are not the intended
       recipient, please be advised that you are legally prohibited from retaining, using,
       copying, distributing, or otherwise disclosing this information in any manner. If
       you have received this communication in error, please notify us immediately by
       telephone or email, and then immediately destroy the original communication.
       Thank you for your cooperation.

       From: Green, Fran <FGreen@ktslaw.com> On Behalf Of Bussert, Chris
       Sent: Friday, March 14, 2025 2:08 PM
       To: Jacob Salit <jsalit@WILSONDUTRA.COM>
       Cc: Bussert, Chris <CBussert@ktslaw.com>
       Subject: 3-14-2025 Letter to Jacob Salit regarding Justiceville Service Mark
Case 3:25-cv-00491-MMH-MCR                        Document 5               Filed 05/02/25               Page 46 of 46 PageID 91



       Please see attached correspondence from Mr. Bussert.

       Thank you,

       <image003.png>

       Chris Bussert
       CBussert@ktslaw.com
       Kilpatrick Townsend & Stockton LLP
       1100 Peachtree Street NE | Suite 2800 | Atlanta, GA 30309-4528
       T 404 815 6545 | M 404 735 3056 | F 404 541 3144
       My Profile | vCard
       '

       Confidentiality Notice:
       This communication constitutes an electronic communication within the meaning of the Electronic Communications
       Privacy Act, 18 U.S.C. Section 2510, and its disclosure is strictly limited to the recipient intended by the sender of this
       message. This transmission, and any attachments, may contain confidential attorney-client privileged information and
       attorney work product. If you are not the intended recipient, any disclosure, copying, distribution or use of any of the
       information contained in or attached to this transmission is STRICTLY PROHIBITED. Please contact us immediately by
       return e-mail or at 404 815 6500, and destroy the original transmission and its attachments without reading or saving in
       any manner.

       '
